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 1   DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
 2   117 J Street, Suite 202
     Sacramento, California 95814-2282
 3   916-447-1193
 4   Attorney for Defendant
     ANGELITO EVANGELISTA
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 7
 8                          IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         )                 NO. 08-cr-00318-LKK
12               Plaintiff,              )
                                         )
13   v.                                  )                 ORDER RE WAIVER OF DEFENDANT'S
                                         )                 PRESENCE
14   ANGELITO EVANGELISTA,               )
                                         )
15               Defendant.              )
                                         )
16   ____________________________________)
17
            Defendant ANGELITO EVANGELISTA hereby waives the right to be present in person
18
     in open court upon the hearing of any motion or other proceeding in this cause, including, but
19
     not limited to, when the case is ordered set for trial, when a continuance is ordered, and when
20
     any other action is taken by the court before or after trial, except on arraignment, plea,
21
     impanelment of jury and imposition of sentence.
22
            Defendant hereby requests the court to proceed is his absence which the court may permit
23
     pursuant to this waiver; agrees that his interests will be deemed represented at all times by the
24
     presence of her attorney, Dwight M. Samuel, the same as if defendant were personally present;
25
     and further agrees to be present in court ready for trial any day and hour the court may fix in him
26
     absence.
27
            Defendant further acknowledges that he has been informed of his rights under Title 18
28
              Case 2:08-cr-00318-DAD Document 77 Filed 07/21/08 Page 2 of 2


 1   U.S.C. sections 3161 through 3174 (Speedy Trial Act), and authorizes his attorney to set times
 2   and dates under that Act without defendant being present.
 3
 4   DATED: July 10, 2008
 5
 6                                               /S/Angelito Evangelista
                                                 ANGELITO EVANGELISTA
 7
     APPROVED: July 10, 2008
 8
 9                                               /s/Dwight M. Samuel
                                                 DWIGHT M. SAMUEL
10                                               Attorney for Defendant
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12   APPROVED: July 21, 2008
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